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                                      SCHEDULE A

                            AUTHORITY FOR THE TAKING


       The property is taken under and in accordance with 40 U.S.C. §§ 3113 and 3114,

which authorize the condemnation of land and the filing of a Declaration of Taking; the

Act of Congress approved September 30, 1996, as Public Law 104-208, Division C,

Section 102, 110 Stat. 3009-546, 3009-554-55, as amended and codified at 8 U.S.C. §

1103(b) & note; and the Act of Congress approved February 15, 2019, as Public Law 116-

6, div. A, tit. II, Section 230, 133 Stat. 13, which appropriated the funds that shall be used

for the taking.
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                                     SCHEDULE B

                                   PUBLIC PURPOSE



       The public purpose for which said property is taken is to construct, install, operate,

and maintain roads, fencing, vehicle barriers, security lighting, cameras, sensors, and

related structures designed to help secure the United States/Mexico border within the State

of Texas.
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                                      SCHEDULE C

                                 LEGAL DESCRIPTION

                                     Starr County, Texas

Tract: RGV-RGC-2050
Owner: Carlos J. Benavides, et al.
Acre: 0.221

BEING a 0.221 acre tract (9,627 square feet) parcel of land, more or less, being out of a
called 3.017 acre tract, said tract being a portion of Share 23-a, Porcion 66, Ancient
Jurisdiction of Mier, Mexico, now Starr County, Texas, recorded in Document No. 2016-
329741, Document No. 2006-25543 and Document No. 2007- 267726, Official Records of
Starr County (O.R.S.C.), Texas, conveyed to Heron Ramirez, Uvaldo R. Ramirez, Jose
Humberto Ramirez, Jr., Ricardo Javier Ramirez, Artemio Ramirez, The Unknown Heirs of
Romeo Ramirez, Jose Ramon Guerra, Xavier Fernando Guerra, Esmeralda Noelia Guerra
and Carlos J. Benavides, said 3.017 acre tract described in Document No. 1940-13587,
Official Records of Starr County (O.R.S.C.), Texas, conveyed to Jose Guerra Sandoval and
wife, Teodora Ramirez, said 0.221 acre tract (9,627 square feet) parcel of land being more
particularly described as follows;


BEGINNING: at a computed point designated as “RGV-RGC-2018-2=RGV- RGC-2019-
5=RGV-RGC-2050-1” having a coordinate value of N=16673495.129, E=792448.375,
said point being the northeast corner of said Share 23-a, Porcion 66 and the northeast corner
of said Heron Ramirez, et al tract, said point being an angle point on the west line of Share
22-a, Porcion 66, said point being on the west line of a called 3.97 acre tract, recorded in
Document No. 1992-162191, Official Records of Starr County (O.R.S.C.), Texas,
conveyed to Jose Roberto Guerra and recorded in Document No. 1989-149027, Official
Records of Starr County (O.R.S.C.), Texas, conveyed to Ricardo Belmontes, said point
being the southern corner of Share 21-b, Porcion 66 and the southern corner of a called
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                                  SCHEDULE C (Cont.)
1.33 acre tract, recorded in Document No. 1940-13857, Official Records of Starr County
(O.R.S.C.), Texas, conveyed to the known and unknown heirs of Natividad Guerra
Sandoval and wife, Maria Barrera, said point being the northeast corner of the herein
described proposed acquisition tract, said point also being S 86°11’20” W, a distance of
3404.00 feet from United States Corps of Engineers Control Point No. SS07-2019 (“B&F
Engineering, Inc.” aluminum cap in concrete);


THENCE: S 47°00’00” W, departing the north line of said Heron Ramirez, et al tract,
north line of said Share 23-a and the south line of said known and unknown heirs of
Natividad Guerra Sandoval and wife, Maria Barrera tract, the south line of said 21-b and
along the east line of said Heron Ramirez, et al tract, the east line of said Share 23-a, the
west line of said Share 22-a and the west line of said Jose Roberto Guerra and Ricardo
Belmontes tract, a distance of 37.19 feet to a set 5/8” rebar with a “B&F Engineering, Inc.”
aluminum cap stamped “RGV-RGC-2019- 4=RGV-RGC-2050-2” for the southeast corner
of the herein described proposed acquisition tract;


THENCE: N 52°38’25” W, departing the east line of said Heron Ramirez, et al tract, the
east line of said Share 23-a, the west line of said Share 22-a and the west line of said Jose
Roberto Guerra and Ricardo Belmontes tract and over and across said Heron Ramirez, et
al tract, a distance of 157.67 feet to a set 5/8” rebar with a “B&F Engineering, Inc.”
aluminum cap stamped “RGV-RGC-2049-3=RGV-RGC- 2050-3” for the southwest
corner of the herein described proposed acquisition tract, said point being on the west line
of said Heron Ramirez, et al tract and the east line of a called 0.103 acre tract, recorded in
Document No. 2016-329741, Document No. 2006-255493 and Document No. 2007-
267726, Official Records of Starr County (O.R.S.C.), Texas, conveyed to the known and
unknown heirs of Jose Roel Montalvo and Eusebia Leonila Guerra Montalvo, et al, said
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                                  SCHEDULE C (Cont.)
0.103 acre tract described in Document No. 1971-79468, Official Records of Starr County
(O.R.S.C.), Texas;


THENCE: N 47°00’00” E, along the west line of said Heron Ramirez, et al tract, and the
east line of said known and unknown heirs of Jose Roel Montalvo and Eusebia Leonila
Guerra Montalvo, et al, a distance of 86.68 feet to a computed point designated “RGV-
RGC-2049-2=RGV-RGC-2050-4” for the northwest corner of the herein described
proposed acquisition tract, said point being the northeast corner of said known and
unknown heirs of Jose Roel Montalvo and Eusebia Leonila Guerra Montalvo, et al tract,
said point being on the south line of a called 0.53 acre tract, recorded in Document No.
2016-329741, Official Records of Starr County (O.R.S.C.), Texas, conveyed to Carlos J.
Benavides, et al, said point being on the south line of Share 23-b, Porcion 66;


THENCE: S 34°33’09” E, along the north line of said Heron Ramirez, et al tract, the north
line of Share 23-a, the south line of Carlos J. Benavides, et al tract, the south line of Share
23-b, the south line of said known and unknown heirs of Natividad Guerra Sandoval and
wife, Maria Barrera tract and the south line of said Share 21-b, passing at 4.52 feet the
southeast corner of said Carlos J. Benavides, et al tract and the southeast corner of Share
21-b, in total a distance of 157.15 feet to the POINT OF BEGINNING and containing
0.221 acre tract (9,627 square feet) parcel of land, more or less.


Note: All bearings, distances and coordinates are referenced to the Texas State Plane
coordinate system, south zone grid (SPC 4205) NAD’83. Values may be
converted to ground values using a scale factor of 1.000040000.
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                           SCHEDULE D
                           MAP or PLAT
                      LAND TO BE CONDEMNED
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                         SCHEDULE D (cont.)
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                                SCHEDULE D (cont.)




Tract: RGV-RGC-2050
Owner: Carlos J. Benavides, et al.
Acreage: 0.221
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                                       SCHEDULE E

                                     ESTATE TAKEN

                                     Starr County, Texas

Tract: RGV-RGC-2050
Owner: Carlos J. Benavides, et al.
Acre: 0.221


       The estate taken is fee simple, subject to existing easements for public roads and
highways, public utilities, railroads, and pipelines; and subject to all interests in minerals
and appurtenant rights for exploration, development, production and removal of said
minerals;

       Reserving to the owners of land described in conveyances recorded with Official
Records of Starr County, Texas, document numbers 2016-329741, 2006-25543, and
2007-267726, reasonable access to and from the owners’ lands lying between the Rio
Grande River and the border barrier through opening(s) or gate(s) in the border barrier
between the westernmost mark labeled “Beginning” and easternmost mark labeled
“Ending” depicted on the map below;

        Excepting and excluding all interests in water rights and water distribution and
drainage systems, if any, provided that any surface rights arising from such water rights or
systems are subordinated to the United States’ construction, operation, and maintenance of
the border barrier.
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                          SCHEDULE E (cont.)
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                                      SCHEDULE F

                        ESTIMATE OF JUST COMPENSATION



   The sum estimated as just compensation for the land being taken is EIGHT HUNDRED

DOLLARS AND NO/100 ($800.00), to be deposited herewith in the Registry of the Court

for the use and benefit of the persons entitled thereto.
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